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                     UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF MINNESOTA
-------------------------------------------------
In re:                                                  Jointly Administered Ch. 11 Cases
                                                        under Case No. 17-31670 (KHS)
Stinar HG, Inc., Case No. 17-31670
Oakridge Holdings, Inc. Case No. 17-31669


                       Debtors.
-------------------------------------------------


             PLAN OF REORGANIZATION OF STINAR HG, INC.,


                                    Dated: April 16, 2018



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                                    ARTICLE I
                                  INTRODUCTION

      Stinar HG, Inc. (“Debtor” or “Stinar”), a Minnesota Corporation, hereby

proposes the following plan of reorganization (hereinafter “the Plan”) pursuant to

United States Bankruptcy Code, Title 11 of the United States Code for Single

Asset Real Estate Case Filings.

                                    ARTICLE II
                                   DEFINITIONS

      For the purposes of this Plan, the following terms shall have the respective

meanings hereinafter set forth. Any terms contained in this Plan that are not

specifically defined shall have the meaning provided for in the Bankruptcy Code,

unless the context otherwise requires.

      “Confirmation Date” means the date of entry of an order confirming the

Debtor’s Plan.

      “Effective Date” means the Seventh business day following the filing date of

the final order confirming this Plan.

      “Interest” means the equity interest of any shareholder in Stinar.

      “Net Liquidation Value” means the estimated sum available to unsecured

creditors after payment of administrative and secured claims.

      “Plan” means this Chapter 11 plan of reorganization and any amendments,

or modifications thereto.


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      “Pro Rata Share” means, as to a claimant, the amount determined by

multiplying the total amount of debtor’s payment to a particular class by a fraction,

the numerator of which is the amount of the claimant’s allowed claim and the

denominator of which is the total amount of all allowed claims in that class.

                                 ARTICLE III
                             UNCLASSIFIED CLAIMS

      A.      Unclassified Claims.

   Unclassified Claims include:

     (a)     All fees payable, including quarterly fees payable to the United States
Trustee and any court fees, as required under 28 U.S.C. § 1930(a)(6). As of the
date hereof, Stinar is current with such fees.

      (b)    Post-petition Claims, incurred in the ordinary course of Stinar’s
business other than those listed in paragraph c and d below. Stinar is current with
all such expenses as of the date hereof.

     (c)     Allowed Priority Expense Claims, except as otherwise classified
herein, including:

           1) Allowed administrative expense fees and expenses of counsel for
              Stinar and Oakridge and special counsel for Oakridge or pursuant to
              11 U.S.C. § 503(b) as well as any other professionals hired by Stinar
              and whose retention and fees have been or will be approved by the
              Court.
           2) Administrative Claims of taxing authorities for post-petition taxes
              under 11 U.S.C. § 507(a)(2) and 503(b). Stinar is current on post-
              petition taxes.

           3) Claims of taxing authorities for pre-petition taxes entitled to priority
              by reason of 11 U.S.C. § 507(a)(8). Stinar’s parent, Oakridge
              Holdings, LLC has a claim filed against it by the Minnesota
              Department of Revenue but Stinar believes it has no material pre-
              petition taxes owed to any taxing authority.


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      B.     Treatment of Administrative Priority Claims: The foregoing Allowed

Administrative (507(a)(2)) Claims will be satisfied by payment in full on the

Effective Date, to the extent not otherwise paid in the ordinary course of business

as the same become due or as agreed upon by a particular Claimant. Stinar will

continue to pay all fees payable, including quarterly trustee fees, and any other

court fees, that come due until the Chapter 11 case is closed, converted or

dismissed, as required by 28 U.S.C. § 1930, but subject to any amendments to the

Bankruptcy Code made retroactively applicable to this case. After confirmation,

Stinar agrees to submit quarterly operating reports to the United States Trustee, in

the format prescribed by the trustee until the case is closed, dismissed or converted.

      C.     Treatment of Non-Administrative Priority Claims: 1) Amount of

Claims a) All Allowed Claims under § 507(a)(8) will, unless otherwise agreed, be

paid in full, in regular monthly installments, over a period of no more than 60

months from the date of the filing of Stinar’s Bankruptcy Petition with interest as

required by applicable state or federal law. Stinar believes that there are no

Section 507(a)(8) claims.

                      ARTICLE IV
 CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

      All Classified Claims against Stinar are set forth below, along with the

treatment to be afforded each Class.

      A.     Classified Claims and Interests.
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      1.     Class I. Secured Claims

      The amount of the secured claims of the Debtor are determined by the value

of the various assets held by the Debtor. As of the Petition Date, the major asset of

Stinar is a piece of real property consisting of 7.1 acres in Eagan Minnesota upon

which it operates its business (its sole location). With needed roof and building

improvements and outstanding environmental issues, the real estate has a

liquidation value of $1,836,750. Stinar also had, as of the date of filing, current

assets, valued at generally accepted accounting principles $1,188,166.19. Net

Liquidation Value of all assets of the Debtor as of the date of filing is

approximately $2,226,791 as shown on Exhibit 2. A liquidation analysis is

attached as Exhibit 2 to the Disclosure Statement accompanying this Plan.

      Pre-petition the following parties held secured debt against Stinar as listed

below:

      2.     Class IA:      Claims of Signature Bank

      Signature Bank that has two loans totaling a current balance of
      approximately $1,132,482.00. More specifically, the loans and
      security for the Signature Bank loans are:

      Loan No.           5802:
      Balance:           $831,715
      Description:       Payable in monthly installments of $ 6,672 including interest
                         at 6.0 %, with a balloon payment in January 2023. Effective
                         June 2015, the interest rate was raised to 10 % due to
                         payment default in accordance with the terms of the note.



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    Security:      The note is secured by the first mortgage on property owned
                   by Stinar, a blanket lien in all of Steiner’s assets and a
                   continuing commercial guarantee from both Oakridge
                   Development and Robert Harvey and by the assignment of a
                   life insurance policy on Robert Harvey.

    Loan No.       5803:
    Balance:       $300,767.00
    Security:      Mortgage on the land and buildings at 3255 Sibley
                   Memorial Highway, Eagan, Minnesota consisting of an
                   office, shop and out lots totaling approximately 7.1 acres
                   and blanket lien on assets of Steiner (with equipment lien
                   subordinate to SBA).

    Description:   Bank portion of SBA 504 loan guaranteed note payable in
                   monthly installments of $ 20,503 including interest at the
                   prime rate (as published by the Wall Street Journal) plus 1
                   %, adjusted every calendar quarter (4.25 % at June 30,
                   2016), maturing in May 2018. The note is secured by the
                   assets of the Company and the unconditional guarantee of
                   the chief executive officer/key stockholder.




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      Treatment:

      Stinar will pay the principal balance on the Signature Bank loans existing at

the Petition Date less any payments made from the Petition Date to the Effective

Date as secured claims at the rate set forth in the loan documents beginning thirty

days after the Effective Date. To the extent that Stinar has missed any payments

during the course of the bankruptcy, Stinar will extend the Loans by the number of

months that the payments were missed payments shall remain the same conditions

of any underlying loan documents shall remain in full force and effect.

      The secured claimants shall retain a lien and security interest in the

collateral, as described forth above, until the principal balances and all accruing

interest are paid in full. Nothing in this Plan shall impair the perfection or validity

of the Bank’s lien and security interest(s) provided to them by Minnesota law.

      So long as the payments by Stinar under the terms of the Plan are current, all

personal guarantees signed by any guarantor on any of the Loans will also be

deemed current and not in default.

      Alternatively, Stinar may seek re-financing of the Class IA debt at terms at

least as favorable as the current debt structure.

      3.     Class IB:      Claims of the Small Business Administration

      The Small Business Administration (“SBA”) has a separate SBA 504 Loan

with a current balance of $632,585. This loan has a twenty-year term and is

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payable in monthly installments of $ 5,107 including interest and SBA fees for an

interest rate of 5.2%. The SBA portion of the 504 loan matures in March 2033. The

note is secured by a second mortgage on the land and buildings at 3255 Sibley

Memorial Highway, Eagan, Minnesota consisting of an office, shop and out lots

totaling approximately 7.1 acres and an unconditional guarantee from both

Oakridge Development and Robert Harvey as well as a second position lien on

Stinar’s equipment.

          Treatment:

          Stinar will pay the principal balance on the Small Business Administration

Loan existing at the Petition Date less any payments made from the Petition Date

to the Effective Date as secured claims at the rate set forth in the loan documents

beginning thirty days after the Effective Date. To the extent that Stinar has missed

any payments during the course of the bankruptcy, Stinar will extend the Loans by

the number of months that the payments were missed payments shall remain the

same conditions of any underlying loan documents shall remain in full force and

effect.

          The secured claimants shall retain a lien and security interest in the

collateral, as described forth above, until the principal balances and all accruing

interest are paid in full.




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      So long as the payments by Stinar under the terms of the Plan are current, all

personal guarantees signed by any guarantor on any of the Loans will also be

deemed current and not in default.

      Alternatively, Stinar may seek re-financing of the Class IB debt at terms at

least as favorable as the current debt structure.

      4.     Class 1C:      Claims of Kruckeberg Industries LLC

      Kruckeberg Industries LLC (“Kruckeberg”) provided a secured loan in the

approximate amount of $72,000 to Stinar for the purchase of parts pre-petition. In

addition, pursuant to the now-terminated management agreement between Stinar

and Kruckeberg, Stinar owes Kruckeberg $71,820. That debt is also secured by

the assets of Stinar. Finally, Kruckeberg also has a Debtor in Possession loan

(“DIP Loan”) with Stinar that was approved under a stipulation entered between

Stinar and Kruckeberg on May 26, 2017 [Docket 23]. The order approving the

stipulation is Docket 26. The terms of the DIP loan were extended via a Stipulation

approved by the Court on October 25, 2017 [Docket 63].            The current DIP

Financing Agreement expired on December 31, 2017. Stinar is not in compliance

with the terms of the extended DIP Financing agreement because per the

stipulation the total amount of the DIP loan is now due. The total owing to

Kruckeberg on the DIP loan is currently approximately $292,000.00. Total owing




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to Kruckeberg by Stinar for both pre-petition secured debt and post-Petition DIP

funding is currently approximately $436,000.00.

      Stinar has made no payments to Kruckeberg during the course of the

Chapter 11. Kruckeberg has a superpriority lien on all of the assets of Stinar over

all other creditors except Signature Bank and the Small Business Administration. If

Stinar cannot obtain an agreement to extend the DIP Financing Agreement,

Kruckeberg has the ability to immediately foreclose on all of the assets of Stinar,

subject to the rights of Signature Bank and the Small Business Administration.

      Treatment:

      Contingent on the approval of a liquidating plan of reorganization for

Oakridge, which contingency Kruckeberg may waive at any time, Kruckeberg

shall convert all of its rights to payment of any amounts owed prior to the petition

date and under the DIP loan into a 100 % ownership interest in Stinar. All current

shares or other indications of ownership in Stinar, as further described below will

be cancelled.

      5.    Class 1D:       Claims of Ford Motor Credit

      Ford Motor Credit has a loan with a current balance of approximately

$24,704.00 and a security interest on one Ford Truck Chassis owned by Stinar.




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      Treatment:

      Ford Motor Credit’s allowed claim will be paid in full within sixty days after

the effective date.

      B.      Class II:        Unsecured Claims

      1.      Class II A: Claim of Robert Harvey.

      This class shall consist of the unsecured claims of Robert Harvey, the

current President of Stinar. Stinar scheduled this claim at $224,000 although a

subsequent review of the books and records shows that the amount due is

$59,000.00.

      Treatment:

      Robert Harvey’s claims are to be subordinated to the claims of all other

unsecured creditors pursuant to 11 USC § 510(c)(1). When said claims are paid in

full Stinar shall pay Claims under Class IIA as funds become available on a semi-

annual basis.

      2.      Class IIB:       Claim of Oakridge Holdings, Inc.

      This class shall consist of the unsecured claims of Oakridge Holdings, Inc.,

the parent of Stinar. Stinar scheduled this claim at $470,265 although a review of

the books and records of the company show that Oakridge eliminated the amounts

due from Stinar in connection with filings with the Securities and Exchange

Commission based on accounting principles that such inter-company debt should

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be treated as contribution to the capital of Stinar. Stinar therefore believes that the

funds listed as loaned to the company by Oakridge should be treated as a pre-

petition addition to capital of the company. Kruckeberg would call their DIP loan

if the amounts allegedly due to Oakridge were not recast as a capital contribution.

      Treatment:

      Stinar will treat the intercompany transfer to Oakridge as contribution to

capital of Stinar. This pre-petition ownership interest will be cancelled as a result

of the reorganization of Stinar.

      3.     Class IIC:     Convenience Class.

      This class shall consist of Allowed Unsecured Claims not entitled to priority

where the total of the allowed claim does not exceed $3,000.00. Any unsecured

creditor whose claim exceeds $3,000 may elect by voting in the plan to be treated

as a Class II creditor by electing to reduce their claim to $3,000.00. The holders of

Class III claims, shall be paid their Allowed Claims as follows:

      Treatment:

      The holders of Class IIC Allowed Claims will be paid a total of 100% of

their claims, without interest within sixty (60) days after the Effective Date. Such

payments shall be in full satisfaction of each Allowed Unsecured Claim. Stinar

estimates that there are approximately $10,000.00 in claims in Class IIC.




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      4.    Class IID:     General Unsecured Claims.

      This class shall consist of Allowed Unsecured Claims not entitled to priority

and not treated in any other class in the Plan, including the unsecured portion of

any secured claim. Total of all unsecured claims, including claims in the

convenience class but not including claims in Classes IIA and IIB that will be re-

characterized as pre-petition contributions to capital, were scheduled at $365,875.

This figure also includes claims that Stinar tends to dispute prior to making any

payment under the terms of this plan of reorganization.

      Stinar will pay all Class IID claimants 100% of their allowed claims, without

interest. Such payments shall be in full satisfaction of each Allowed Unsecured

Claim. Stinar will pay 50% of all allowed Class IID claims six months after the

effective date. An additional payment will be made 12 months after the effective

date. Stinar estimates that it will take 12 months to pay any creditors in Class IID

in full. If Stinar cannot complete payment to all Class IID creditors in 12 months,

semi-annual payments will continue until all claims are paid in full. If in the sole

opinion of Management, it is possible to accelerate payments to the unsecured

creditors in advance of this schedule, it shall do so. In no event shall Class IID

Creditors receive any amount greater than 100% of their total allowed claims. Such

payments shall be in full satisfaction of each Allowed Unsecured Claim.




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      5.     Class III:     Equity Interests.

      One hundred percent (100%) of the common stock of Stinar is owed by its

publicly traded parent company, Oakridge Holdings, Inc., that filed a now jointly

administered Chapter 11 case on the same day as Stinar (Oakridge Holdings Bky

File No. is 17-31669). On the Effective Date, all certificates of common stock and

any other certificate, notes, options, option plans, bonds, indentures, pass through

trust agreement, pass through trust certificate, equipment trust certificate

guarantee, or other instruments or documents directly or indirectly evidencing or

creating any indebtedness or obligation of or ownership interest in Stinar, (except

such certificates, notes, other instruments or documents evidencing indebtedness or

obligations of Stinar that are reinstated pursuant to the Plan), shall be cancelled

solely as to Stinar, and Stinar and the reorganized debtor, as applicable, shall not

have any continuing obligations thereunder, and (ii) the obligations of, claims

against, and/or interests in Stinar pursuant, relating, or pertaining to any

agreements, indentures, certificates of designation, bylaws, or certificate or articles

of incorporation or similar documents governing the common stock and any other

certificates, notes, options, option plans, bonds, indentures, or other instruments or

documents evidencing or creating any indebtedness or obligation of Stinar, except

such agreements or certificates, notes or other instruments evidencing indebtedness

or obligations of Stinar that are specifically reinstated pursuant to the Plan, as the

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case may be, shall be released and discharged; the reorganized debtor shall not

have any obligations to any servicer for holders of common stock or other

instruments evidencing ownership in Stinar for any fees, costs, or expenses except

as expressly provided in the Plan.

                        ARTICLE V
      IMPAIRMENT OF CLASSES OF CLAIMS UNDER THE PLAN

      All classes are impaired under the terms of the plan.

                                  ARTICLE VI
                              GENERAL PROVISIONS

      A.        Payments under this Plan will be made by check, mailed postage

prepaid, to the Claimant at the address listed on its proof of claim or, if no proof of

claim has been filed, to the address listed on the schedule.

      B.        Except as to the Claims of Taxing Authorities (including the IRS and

the Minnesota Department of Revenue), Stinar reserves the right to designate the

application of any payment on a Claim under this Plan.

      C.        In the event a payment is returned to Stinar unclaimed, with no

indication of

Claimant’s forwarding address, Stinar will hold such payment for a period of 60

days from the date of return. If not claimed by Claimant by the end of that period,

the payment shall become the property of Stinar.




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      D.     Proofs of Claims or Interests not timely filed will not participate in

distributions under this Plan and will be discharged under Bankruptcy Code §

1141(d) unless scheduled by Stinar or otherwise ordered by the Court.

      E.     In the event this Plan is not confirmed under Bankruptcy Code §

1129(a), Stinar requests this Plan be confirmed under Bankruptcy Code § 1129(b).

      F.     The articles and bylaws of Stinar shall be amended as required by

Bankruptcy Code § 1123(a)(6) and as may otherwise be required by this Plan.

      G.     Any creditor holding a deposit, including but not limited to utilities,

shall return the full amount of the deposit, without the right to setoff, as soon as

practicable following confirmation of this Plan.

      H.     As of the Confirmation Date, Christopher Thorpe will be elected by

the Reorganized Debtor as the president of Stinar, James Richards will be elected

as Vice-President of Operations and Craig Kruckeberg, Chris Carlisle, Christopher

Thorpe and James Richards will be elected as members of the reorganized

Debtor’s Board of Directors.

      I.     Contingent unliquidated Claims, including any guarantees of Stinar,

will be paid to the extent and manner agreed upon by Stinar and the affected

parties as approved by the Court, or as liquidated by the Court after hearing, as a

general unsecured Claim under Class IID.




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      J.     Any funds or benefits received by Stinar by virtue of any adversary

proceeding, claim, preference action, or any other legal right assertable by Stinar

under Stinar for its operations or to fund the Plan.

      If the Effective Date or any other date on which a transaction may occur

under this Plan shall occur on a day that is not a Business Day, the transactions

contemplated by this Plan shall occur on the next succeeding Business Day.

                          ARTICLE VII
           MEANS OF EXECUTION OF PLAN AND FEASIBILITY

      A.     Plan Implementation. Stinar, after confirmation, will manage its

affairs and all of its Assets, and will disburse funds, serving as required as

disbursing agent. Stinar will hire additional sales staff within the next 12 months to

increase its sales to the levels presented in the forecast attached to the Plan (Exhibit

B). Stinar will be responsible for operating the business, paying expenses and

making distributions to creditors as set forth in the Plan. Stinar will provide or pay

out of operating funds for all of its administrative expenses and business debts in

the ordinary course of business, according to the Plan. If necessary, Kruckeberg

will infuse sums into Stinar as additional capital to pay the claims of unsecured

creditors or the unpaid Administrative Claims on the Effective Date or such other

dates as required in the Plan. Kruckeberg has the ability and willingness to provide

this additional funding for the success of Stinar and the implementation of the plan.

Attached to the Plan and marked as Exhibit B are projections prepared by Stinar’s
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management. If Stinar’s Plan is confirmed, Stinar is confident of its ability to meet

or exceed these projections and perform as set forth under the Plan.

      The continued improvement of the operations of Stinar based upon the DIP

funding and the assistance of Kruckeberg in providing professional management of

Stinar all enhances the feasibility of the Plan and its likelihood of success.

                       ARTICLE VIII
       EXECUTORY CONTRACTS AND UNEXPIRED LEASES AND
                  ADMINISTRATIVE CLAIMS

      Stinar has no Executory Contracts or leases. To the extent that any such

contracts exist, they are deemed rejected through the confirmation of the Plan. All

allowed administrative claims shall be paid on the Effective Date or upon

allowance or as otherwise agreed between the holder of the claim and the Debtor.

                          ARTICLE IX
         ALTERNATIVES TO THE PLAN OF REORGANIZATION

      Based upon the terms of the Plan and the financial situation of Stinar, Stinar

believes it can offer more to unsecured claimants than under a liquidation scenario

in which Stinar’s assets will be first turned over first to the secured creditors, and

second to other priority claimants and then paid out to the unsecured creditors.

Based on the estimated liquidation value shown in Exhibit 2 to the accompanying

disclosure statement, if liquidation were to occur, there would not pay out to

unsecured creditors or to Oakridge, Stinar’s equity security holder.



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                               ARTICLE X
                        MODIFICATION OF THE PLAN

      Stinar hereby reserves the right to amend or modify the Plan in the manner

provided for under 11 U.S.C. § 1127 or § 1129(a) or (b), at any time prior to

confirmation, or if allowed by the Court, at or after confirmation. Stinar reserves

the right to amend the Plan or remedy any defect or omission, or reconcile any

inconsistencies of the Plan, or the order of confirmation, in such manner as may be

necessary to carry out the purpose and effect of the Plan, or insure confirmation.

                        ARTICLE XI
     CONTINUING JURISDICTION OF THE BANKRUPTCY COURT

      The Bankruptcy Court shall retain jurisdiction over Stinar’s property, after

confirmation of the Plan, for the purpose of enforcing the provisions of the Plan,

including without limitation, the determination of the amount of Allowed Claims,

the hearing of objections, if any, to Claims, for estimating any contingent or

unliquidated Claims, for conducting adversary proceedings, including but not

limited to any preference actions, actions to subordinate Claims under § 510, to

conduct any actions which may be properly removed to the Bankruptcy Court, and

for other proper purposes related to this Plan.

                                ARTICLE XII
                             CONTESTED CLAIMS

      Stinar, or any party in interest, has the right to object to Claims or Interests

filed within the bankruptcy proceeding within 30 days of the Effective Date, or
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such other time as the Court may direct. The figures, valuations, or numbers given

for Claims in the Disclosure Statement and this Plan are approximations. Stinar

will examine all Claims and file any objections to such Claims as are appropriate.

Any such Claims for which an objection has been filed or with respect to which a

determination of value must be made, shall be paid when, and to the extent allowed

or determined by the Court, or as otherwise agreed to by Stinar and such claimant,

and approved by the Court.

                          ARTICLE XIII
           RESERVATION OF ALL RIGHTS, CLAIMS, ACTIONS

      Stinar reserves all rights, at law or in equity, not otherwise specifically

modified by this Plan, to commence adversary proceedings, or take any other legal

action allowed by the Bankruptcy Code, or other applicable law.

                        ARTICLE XIV
       DISCHARGE, RELEASE AND EFFECT OF CONFIRMATION

      The confirmation of the plan shall vest all property of Stinar in the

reorganized company per 11 U.S.C. § 1141(b).

      The confirmation of the Plan will provide the reorganized debtor with all of

its property free and clear of all claims and interests of creditors, equity security

holders, and of general partners (if any) in the debtor except as provided for in the

plan per 11 U.S.C. § 1141(c).




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      Further, as limited by the applicable provisions of the Bankruptcy Code, the

confirmation of the Plan will discharge the debtor from any debt that arose before

the date of such confirmation, and any debt of a kind specified in section 502(g),

502(h), or 502(i) of the Bankruptcy Code whether or not a proof of the claim based

on such debt is filed or deemed filed under section 501 of this title; such claim is

allowed under section 502 of this title; or the holder of such claim has accepted the

plan per 11 U.S.C. § 1141(d)(1)(a).

      Finally, confirmation terminates all rights and interests of equity security

holders and general partners provided for by the plan per 11 U.S.C. §

1141(d)(1)(b).

      The discharge granted by 11 U.S.C. § 1141(d) is modified as to the tax debt

provided for in this Plan, and the discharge of any tax debt under this Plan shall not

be effective until all taxes provided for under this Plan have been paid in full.

                              ARTICLE XV
                       MISCELLANEOUS PROVISIONS

      The rules of construction used in Section 102 of the Bankruptcy Code shall

apply to the construction of this Plan.

      Except to the extent that the Bankruptcy Code or other Federal law is

applicable, the rights, duties and obligations arising under this Plan shall be

governed by, construed and enforced in accordance with, the internal laws of the

State of Minnesota.
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      The rights, duties and obligations of any person or entity named or referred

to in this Plan shall be binding upon, and shall inure to the benefit of, the

successors and assigns of such person or entity.



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          Exhibit A – List of Leases and other Executory Contracts


                                   None
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                       Exhibit B – Financial Projections


                See Attached anticipated Revenues and Expenses
                                                                                                Case 17-31670                                                           Doc 86                                    Filed 04/16/18 Entered 04/16/18 13:19:54                                                                                                                                                        Desc Main
                                                                                                                                                                                                                   Document     Page 27 of 27
                                                                                                                                                                                                                                                                                                                                                                            2018                          2019                            2020                            2021                            2022                            2023
                  Description                        February                  March                    April                    May                    June                     July                   August                 September                   October                   November                   December                     January                        Total
REVENUES
			Sales	--	Equipment-ST-100	(FIRM)             $					463,483.00 $					577,042.00 $					586,532.00 $					584,288.00 $					474,650.00 $					156,000.00                                                                                                                                                                                             $						2,841,995.00
			Sales	--	Equipment-ST-100	(FORECAST)                                                                                                                            $					375,000.00 $									550,000.00 $					575,000.00 $									575,000.00 $									575,000.00 $							550,000.00 $									550,000.00 $						3,750,000.00 $									7,053,434.65 $									7,688,243.77 $									8,380,185.71 $									9,134,402.42 $							10,047,842.66
			Other	Revenue-ST-100                                                                                                                                                                                                                                                                                                                           $																							-
			Sales	-	Parts-ST-100                         $							45,000.00 $							45,000.00 $							45,000.00 $							45,000.00 $							45,000.00 $							45,000.00 $											45,000.00 $							45,000.00 $											45,000.00 $											45,000.00 $									45,000.00 $											45,000.00 $									540,000.00 $													550,800.00 $													561,816.00 $													573,052.32 $													584,513.37 $													596,203.63
			Returns-ST-100                               $																			-  $																			-  $																			-  $																			-  $																			-  $																			-  $																							- $																			-  $																							- $																							- $																					-  $																							- $																							-
			Discounts-ST-100                             $																			-  $																			-  $																			-  $																			-  $																			-  $																			-  $																							- $																			-  $																							- $																							- $																					-  $																							- $																							-
			Sales	Tax-ST-100                             $														(33.00) $														(33.00) $														(33.00) $														(33.00) $														(33.00) $														(33.00) $																	(33.00) $														(33.00) $																	(33.00) $																	(33.00) $																(33.00) $																	(33.00) $																(396.00) $																			(400.00) $																			(400.00) $																			(400.00) $																			(400.00) $																			(400.00)

   Total Sales/Revenue                          $					508,450.00 $					622,009.00 $					631,499.00 $					629,255.00 $					519,617.00 $					575,967.00 $									594,967.00 $					619,967.00 $									619,967.00 $									619,967.00 $							594,967.00 $									594,967.00 $						7,131,599.00 $									7,603,834.65 $									8,249,659.77 $									8,952,838.03 $									9,718,515.79 $							10,643,646.30

COST OF SALES
  Total Cost of Sales                           $					434,463.73 $					526,326.31 $					528,759.56 $					515,805.86 $					393,777.11 $					440,048.47 $									444,623.47 $					458,748.47 $									458,748.47 $									465,748.47 $							458,123.47 $									451,124.47 $						5,576,297.88 $									6,339,418.75 $									6,785,234.35 $									7,210,099.87 $									7,762,255.74 $									8,274,152.88

   Gross Profit                                         73,986.27               95,682.69             102,739.44              113,449.14              125,839.89              135,918.53                 150,343.53               161,218.53                 161,218.53                  154,218.53                 136,843.53                 143,842.53               1,555,301.12          $         1,264,415.90          $         1,464,425.42          $         1,742,738.16          $         1,956,260.04          $         2,369,493.42

OPERATING EXPENSES
  Total Operating Expenses                      $							32,462.00 $							32,462.00 $							32,462.00 $							33,462.00 $							33,462.00 $							33,462.00 $											33,462.00 $							82,462.00 $											34,462.00 $											34,462.00 $									34,462.00 $											34,462.00 $									451,544.00 $													638,453.92 $													642,649.57 $													660,904.73 $													679,735.24 $													699,159.50

   Total Operating Income (Loss)                        41,524.27               63,220.69               70,277.44               79,987.14               92,377.89             102,456.53                 116,881.53                 78,756.53                126,756.53                  119,756.53                 102,381.53                 109,380.53               1,103,757.12          $            625,961.98         $            821,775.85         $         1,081,833.43          $         1,276,524.80          $         1,670,333.92

OTHER INCOME (EXPENSE)
			Interest	Income
			Interest	Expense-ST-100                      $						(10,700.00) $						(10,700.00) $						(10,700.00) $						(10,700.00) $						(10,700.00) $						(10,700.00) $										(10,700.00) $						(10,700.00) $										(10,700.00) $										(10,700.00) $								(10,700.00) $										(10,700.00) $								(128,400.00) $											(128,400.00) $											(128,400.00) $											(128,400.00) $											(128,400.00) $											(128,400.00)
   Total Other Income (Expense)                        (10,700.00)        (10,700.00)        (10,700.00)        (10,700.00)

   Net Income (Loss) Before Taxes                       30,824.27               52,520.69               59,577.44               69,287.14               92,377.89             102,456.53                 116,881.53                 78,756.53                126,756.53                  119,756.53                 102,381.53                 109,380.53               1,103,757.12          $            625,961.98         $            821,775.85         $         1,081,833.43          $         1,276,524.80          $         1,670,333.92

PROVISION FOR INC. TAXES
			Income	Tax	Provision	(Benefit)               $																			-   $																			-   $																			-   $																			-   $																			-   $																			-   $																							-   $																			-   $																							-   $																							-   $																					-   $																							-   $																							-   $																											-   $																											-   $																											-   $																											-   $																											-
   Total Tax Provisions                         $																			-   $																			-   $																			-   $																			-   $																			-   $																			-   $																							-   $																			-   $																							-   $																							-   $																					-   $																							-   $																							-   $																											-   $																											-   $																											-   $																											-   $																											-


   Net Income (Loss)                            $ 30,824.27             $ 52,520.69             $ 59,577.44             $ 69,287.14             $ 92,377.89             $ 102,456.53            $      116,881.53           $ 78,756.53             $      126,756.53           $      119,756.53           $ 102,381.53              $      109,380.53           $ 1,103,757.12              $          625,961.98           $          821,775.85           $       1,081,833.43            $       1,276,524.80            $       1,670,333.92

Priority	Claims	(Oakridge)-Assumes	Dep't	of	
Revenue	Claim	of	$227,434.57	will	be	allowed	
in	Full)                                                                                                                                             ($5,135.26)             ($5,057.71)                 ($5,057.71)             ($5,057.71)                 ($5,057.71)                 ($5,057.71)                 ($5,057.71)               ($5,057.71)                ($40,539.22)        $														(40,539.22) $														(40,539.22) $														(40,539.22) $														(40,539.22) $														(40,539.22)
Priority	Claims	(Stinar)-IRS	$11,185.34                                                                                                                ($252.55)               ($252.55)                   ($252.55)               ($252.55)                   ($252.55)                   ($252.55)                   ($252.55)                 ($252.55)                   ($2,020.44)      $																(2,020.44) $																(2,020.44) $																(2,020.44) $																(2,020.44) $																(2,020.44)
Signature	Bank	Loan	5802                                                                                                                             ($6,672.00)             ($6,672.00)                 ($6,672.00)             ($6,672.00)                 ($6,672.00)                 ($6,672.00)                 ($6,672.00)               ($6,672.00)                ($53,376.00)        $														(80,064.00)
Signature	Bank	Loan	5803                                                                                                                            ($20,503.00)            ($20,503.00)                ($20,503.00)            ($20,503.00)                ($20,503.00)                ($20,503.00)              ($20,503.00)                ($20,503.00)              ($164,024.00)         $											(123,018.00)
SBA	Loan                                                                                                                                             ($5,107.00)             ($5,107.00)                 ($5,107.00)             ($5,107.00)                 ($5,107.00)                 ($5,107.00)                 ($5,107.00)               ($5,107.00)                ($40,856.00)        $														(61,284.00)
Unsecured	Claims	(Stinar)	$365,875                                                                                                                                                                                                                                                                          $						(182,937.50)                                   $								(182,937.50)       $											(182,937.50)
Unsecured	Claims	(Oakridge)	$50,000                                                                                                                                                                                                                                                                         $								(25,000.00)                                  $										(25,000.00)

	Running	Total	Net	Income	(Loss)	Less	Plan	
Payments	                                       $							30,824.27 $							83,344.96 $					142,922.41 $					212,209.55 $					470,073.40 $					645,719.19 $									850,214.98 $					978,460.77 $					1,202,706.56 $					1,412,952.35 $				1,380,510.65 $					1,570,004.44 $						3,368,665.53 $									4,240,626.33 $									5,961,518.39 $									8,202,525.60 $							10,832,915.56 $							14,250,923.74
